Case 2:05-Cr-20071-BBD Document 43 Filed 09/02/05 Page 10f2 Page|D 48 `

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IN THE UNITED STATES DISTRICT COURT

 

 

 

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UNITED STATES OF AMERICA
Plaintiff,
vs. cR. No. 05-20066-D; 05_20071-U/
05-20075-D; 05~20076-9
R:TA wILLIAMSON 05-20077-D
Defendant.

 

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AND SETTING

 

This cause came to be heard on September 2, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Rita Williamson, appearing in person and with
counsel, Edwin A. Perry, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the Indictment

05-20066, Count l of the Indictment 05-20075, and Count l of the Indictment
05-20076.

Remaining Counts in Indictments 05-20066, 05-20071, 05-20075, 05-
20076, and 05-20077 shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.
SENTENCING in this case is SET for FRIDAY, JANUARY 27, 2006, at
1:30 P.M., in Courtroam No. 3, on the 9th floor before Judge Bernice B.

Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the &_Jday of September, 2005.

 

Tws document entered cm the docketZ/hee in compliance
wlth Hu|e 55 and/or 32(b) FRCrP on "£ de'§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:05-CR-20071 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

EdWin A. Perry

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Honorable Bernice Donald
US DISTRICT COURT

